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                               NOTICE OF HEARING


              UNITED STATES DISTRICT COURT
                                     FOR THE
                               DISTRICT OF VERMONT




United States of America

       v.                                                Case No. 2:25-mj-5-1

Teresa Youngblut


TAKE NOTICE that the above-entitled case is scheduled for Monday, January 27, 2025
at 3:30 p.m., in Burlington, Vermont, before the Honorable Kevin J. Doyle, Magistrate
Judge, for an Initial Appearance.


Location: Burlington – 410 Courtroom                     JEFFREY S. EATON, Clerk
                                                         By: /s/ H. Beth Cota
                                                         Deputy Clerk
                                                         1/24/2025


TO:

Matthew J. Lasher, AUSA

Office of the Federal Public Defender
